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                                                    FOR THE EASTERN. nISTRICT OF NORTH CAROLINA
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. MALCOLM. JERMAINE. CARRY, . ·                                                                            . _): ~ ..:. ·.· :,_
                     Petiiioner,                                                                             .. ~.
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                                               v.                                                              )
                                                                                                                )                       No.: 5:16-CV-378-BO
 UN~TED                          STAT~S                   OF AMERICA,                                           )                       No.: 5:07-CV-448-BO
                                                             Respondent.                                        )
 ~~~~~~~~~~~~~~~~~~)


                                                                         PETITIONER'S MOTION REQUESTING
                                                                            THE COURT TO CONSIDER AN
                                                                              INTERVENING DECISION.


                            COMES NOW, Malcom Jermaine Carry, Pro Se, Humbly moving this

     Honorable Court to consider the Supreme Court's decision in

     Sessions v. Dimaya, 138 s. ct. 1204 (2018), and intervening decision,

     that is a decision that directly effects Petitioner Carry's case,

     which was decided after the submission of Petitioner Carry's second

     or SuccesEive 28 u.s.c. § 2255. In support of this motion, Petitioner

     Carry avers the following:

                                                                               I.              STATE~ 1 ::~NT           OF . TJIE CASE

                              £nrrently pending before this district court is Petitioner Carry's

         second or successive 28 u.s.c. § 2255 motion. Carry obtained permission

         from the Fourth Circuit Court of Appeals to present said motion to

         this district court by making a prima facie showing that the new

         rule of constitutional law announced in Johnson v. United States,

         135 s. Ct. 2551 (2015), and held to apply retroactively to cases on

         collateral review by Welch v. United States, 136 s. Ct. 1257 (2016),

         may apply to his case. See Case No. 16-869.
                                Petitioner Carry plead guilty, without the benefit-~f a plea

             agreement, to all Counts of the indictment as it pertained to

             Conspiracy to Commit Robbery, Aiding and Abetting Robbery, and
             Carjacking. See Doc# 1.


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   Section 2255' motion, that in i·ight of' the Su pr em~. Court Is                    decision~.                  :   .
    .   :--:;.._,.;-~   ·~-    --;:                .      .       .::~.                           ··-·.. -.,,~;·




 -th·e m·eaning-of Secti-on---9-24 ( c), and, therefore, may not serve as a

- -P~~ai-~.::.~"t~-           f'or that offense. As such, Mr. Carry's conviction under

   Section 924(c) is based on the unconstitutionally vague residual

   clause of that statue and must be vacated.

                        Since the time of the submission of Petitioner Carry's Second

   or Successive Section 2255, the Supreme court granted a Writ of

   Certiorari to                      Jam~s   Dimaya. See Sessions v. Dimaya, 138 s. Ct. 1204

    (2018). Based upon the grant of Certiorari in Dimaya, this Court

   determined that Petitioner Carry's Second or Successive Section 2255

    motion would be held in abeyance until the determination of Dimaya's

    case, because that case may have a direct effect on Petitioner

    Carry's case.

                                                 INTERVENING DECISION

                        Petitioner Carry humbly moves this Court to consider the decision

    in Dimaya and to apply it to his case as it does affect his case, and

    makes the residual clause of 18 u.s.c. § 924(c)(3)(B) void for vagueness.

                        In Dimaya, the Government sought and obtained a deportation

    order to remove this lawful permanent resident based upon his prior

    conviction, in the State of California, for burglary. The Government

    asserted that said burglary qualified as an "aggravated felony," as

    defined by 18 u.s.c. §16(b), which is the residual clause of Section 16.

    Dimaya appealed. During the pending appeal in the Ninth Circuit, the

        Supreme Court held that a similar residuil clause in the Armed Career

        Criminal act (ACCA)--defining ''violent felony" as any felony that

        "otherwise involves conduct that presents a serious potential risk
        of physical injury to another," 18 u.s.c. § 924(e)(2)(B)-- was



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                       Upon review, the_Supreme Court affirmed the ruling of the Ninth

              Circuit Court of Appeals, determining that the Residual clause of

              Section 16 is void for vagueness as it suffers the same                                                                                 two~f~tal

                  flaws as the residual clause of the ACCA. The Supreme Court determined

                  that Seciton 16(b) has the same two features as ACCA's residual

                  clause -- ordinary-case requirement and an ill-defined risk threshold--

              combined in the same constitutionally problematic way.

                       To begin, ACCA's residual clause created "grave uncertainty

              about how to estimate the risk posed by a crime" because it ''tie[d]

                  the judicial assessment to risk" to a speculative hypothe_sis about

                  the crime's "ordinary case," but provided no guidance on how to

                  figure out what the ordinary case was. Compounding that uncertainty

                  ACCA's residual clause layered an imprecise ''serious potential risk"

                  standard on top of the requisite "ordinary case"                                                              inquiry~-                           The

                  combination of "indeterminacy about how to measure-, the risk"

                  it takes for the-crime to                                           quali~y--as     a violent felony," resulted in

                  "more unpredictability" and arbitrariness than the Due Process Clause

                  tolerates.

                       The Supreme Court went on to determine that the ACCA's

                  "serious potential risk" threshold and§ 16(b)'s ''substantial risk"

                  threshold -are- equated)_. as· determined - in Johnson, and that -these

                  standards, applied under a judge-imagined abstraction,                                                                              i.e., an

                  idealized ordinary case of the crime, cease to work in a way consistent

                  with due process, and are thereby unconstitutionally vague.



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                  _,: '-It••is• P~t.i ti oner Carry '-s posi ti-ori and:' thereby argument that

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         fwo fatal flaws that Section l6(b) and the ACCA's residual clause

          suffers and was found to be unconstitutional because of.

                         The Supreme Court determined that because Section 16(b) contained

         the same two unconstitutional features as the ACCA's residual clause

         none of _the minor lingustic disparities in the statutes makes any

         real difference. Petitioner Carry moves this Court to make the same

         determination concerning any alleged minor lingustic disparities
                                                               '
         between§ 16(b) and§ 924(c)(3)(B). It is Petitioner Carry's assertion

          that the residual clause of Section 16 and Section 924{c) are identical,

         but if this Court finds minor differences, those differences will not

          make any real difference, _because the same two fatal flaws foun..d in

           the ACCA's residual clause and § 16's residual clause is found in

           the residual clause of Section 924(c) . .

                          Based upon the Supreme Court's decision in Dimaya, Mr. Carry

           moves this Court to find the residual clause of Section 924(c)

           void for vagueness and thereby unconstitutional. Further, he moves

           this Court to consider and apply the Supreme Court's determinations

           in Dimaya to his case, as it is an intervening decision, and a

           supreme Court decision that is retroactively applicable on collateral

           review.

                                                                                                    CONCLUSION
                           For the reasons                                      s~t        forth herein, in the ·interest of justice,

            fundamental fairness, and judicial economy, Petitioner Carry humbly

            moves this Honorable Court to consider the intervening Decision of




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                          ru1e, of constitutional law to his case.
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                                                                                                                     FCI-Three Rivers
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                                                                                                                     Three Rivers, TX 78071

                                                                                                                     May 14, 2018




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